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                       IN THE UNITES STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING


WESTERN WATERSHEDS PROJECT; NATIONAL                     )
PRESS PHOTOGRAPHERS ASSOCIATION;                         )
NATURAL RESOURCES DEFENSE COUNCIL, INC;                  )
PEOPLE FOR THE ETHICAL TREATMENT OF                      )
ANIMALS, INC.; and CENTER FOR FOOD SAFETY,               )
                                                         )
                                        Plaintiffs       )
                                                         )
                                        v.               )
                                                         )
PETER MICHAEL, in his official capacity as               )       Civil No. 15-CV-169-s
Attorney General of Wyoming; TODD PARFITT,               )
in his official capacity as Director of the Wyoming      )
Department of Environmental Quality; PATRICK L.          )
LEBRUN, in his official capacity as County Attorney      )
of Fremont County, Wyoming; JOSHUA SMITH,                )
in his official capacity as County Attorney of           )
Lincoln County, Wyoming; CLAY KAINER, in his             )
official capacity as County Attorney of Sublette County, )
Wyoming; MATT MEAD, in his official capacity as          )
Governor of Wyoming,                                     )
                                                         )
                                        Defendants.      )
________________________________________________)



                                  ENTRY OF APPEARANCE


       The undersigned Michael Crosson, Esq. Defendant herein, hereby enters his appearance

in the above entitled matter as counsel of record.

Dated this 26th day of November, 2019.



                                                     /s/ Michael J. Crosson
                                                     Michael J. Crosson
                                                     Wyoming Bar No. 6-3597

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                                                    Sublette County Attorney’s Office
                                                    17 South Fremont Street
                                                    P.O. Box 1010
                                                    Pinedale, Wyoming 82941
                                                    307.367.2300
                                                    Sublette County Attorney/Defendant




                              CERTIFICATE OF SERVICE

This is to certify that on the 26th day of November, 2019, the undersigned served the foregoing
Entry of Appearance to all counsel of record using the CM/ECF system.




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